










Opinion issued June 10, 2004











In The
Court of Appeals
For The
First District of Texas




NO. 01–04–00290–CV




KENNETH W. MENARD, SR., Appellant

V.

JODIE MILLER, Appellee




On Appeal from the 23rd District Court
Brazoria County, Texas
Trial Court Cause No. 19815*102




MEMORANDUM OPINIONAppellant Kenneth Menard, Sr. has neither established indigence, nor paid all
the required fees.  See Tex. R. App. P. 5 (requiring payment of fees in civil cases
unless indigent), 20.1 (listing requirements for establishing indigence); see also Tex.
Gov’t Code Ann. §§ 51.207, 51.941(a), 101.041 (Vernon Supp. 2004) (listing fees
in court of appeals); Fees Civ. Cases B(1), (3) (listing fees in court of appeals). 
After being notified that this appeal was subject to dismissal, appellant Kenneth
Menard, Sr. did not adequately respond.  See Tex. R. App. P. 5 (allowing enforcement
of rule); 42.3(c) (allowing involuntary dismissal of case).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The appeal is dismissed for nonpayment of all required fees.  All pending
motions are denied.
PER CURIAM
Panel consists of Justices Nuchia, Hanks, and Higley.


